     Case 08-03975-hb                  Doc 5        Filed 07/07/08 Entered 07/07/08 07:39:39                                   Desc 181iBNC
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FORM B9I (Chapter 13 Case) (06/08)                                                                                              Case Number 08−03975−hb
                                              UNITED STATES BANKRUPTCY COURT
                                                     District of South Carolina
             Notice of Chapter 13 Bankruptcy Case, Meeting of Creditors, & Deadlines
The debtor(s) listed below filed a chapter 13 bankruptcy case on 7/3/08.
You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your rights. All documents
filed in the case may be inspected at the bankruptcy clerk's office at the address listed below.
NOTE: The staff of the bankruptcy clerk's office cannot give legal advice.
                                         See Reverse Side For Important Explanations.
Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
Kelly Natarajan                                                          Sundar Natarajan
aka Mooney                                                               aka Sundar
200 Great Pines Drive                                                    200 Great Pines Drive
Simpsonville, SC 29681                                                   Simpsonville, SC 29681
Case Number:                                                                   Last four digits of Social−Security or Indvidual Taxpayer−ID (ITIN)
08−03975−hb                                                                    No(s)./Complete EIN:
                                                                               xxx−xx−4711
                                                                               xxx−xx−0202
Attorney for Debtor(s) (name and address):                                     Bankruptcy Trustee (name and address):
Kelly Natarajan                                                                Gretchen D. Holland
200 Great Pines Drive                                                          301 N. Main Street
Simpsonville, SC 29681                                                         Suite 1904
                                                                               Greenville, SC 29601
                                                                               Telephone number: (864) 242−0314

                                                              Meeting of Creditors:
Date: August 7, 2008                                                  Time: 02:30 PM
Location: Donald Stuart Russell Federal Courthouse, 201 Magnolia Street, Spartanburg, SC 29306−2355

                                                                      Deadlines:
                                   Papers must be received by the bankruptcy clerk's office by the following deadlines:

                                                          Deadline to File a Proof of Claim
For all creditors (except a governmental unit): 11/5/08                                For a governmental unit (except as otherwise provided in Fed. R.
                                                                                       Bankr. P. 3002(c)(1)): 12/30/08

                            Deadline to File a Complaint to Determine Dischargeability of Certain Debts:
                                                                           10/6/08
                                                          Deadline to Object to Exemptions:
                                              Thirty (30) days after the conclusion of the meeting of creditors.

                                               Filing of Plan, Hearing on Confirmation of Plan
                                                    The hearing on confirmation will be held:
                                                        Date: 9/4/08     Time: 09:00 AM
                     Location: Donald Stuart Russell Federal Courthouse, 201 Magnolia Street, Spartanburg, SC 29306−2355

                                               Creditors May Not Take Certain Actions
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor, the debtor's property, and
certain codebtors. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the court to extend
or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be penalized. Consult a lawyer to
determine your rights in this case.
                                                    Creditor with a Foreign Address:
A creditor to whom this notice is sent at a foreign address should read the information under "Claims" on the reverse side.
Mailing Address of the Bankruptcy Clerk's Office:                                                       FILED BY THE COURT ON:
United States Bankruptcy Court
J. Bratton Davis United States Bankruptcy Courthouse                                                               07/07/08
1100 Laurel Street                                                                                         Tammi M. Hellwig Clerk
Columbia, SC 29201−2423                                                                                    U.S. Bankruptcy Court
Telephone: 1−803−765−5436
www.scb.uscourts.gov
Public Business Hours: 9:00 AM − 5:00 PM                                       Dated: 7/7/08
     Case 08-03975-hb                        Doc 5            Filed 07/07/08 Entered 07/07/08 07:39:39                                                   Desc 181iBNC
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                                                                                  EXPLANATIONS                                                                          FORM B9I (06/08)
Filing of Chapter 13          A bankruptcy case under chapter 13 of the Bankruptcy Code (title 11, United States Code) has been filed in this court by the debtor(s) listed on the front
Bankruptcy Case               side, and an order for relief has been entered. Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
                              pursuant to a plan. A plan is not effective unless confirmed by the bankruptcy court. You may object to confirmation of the plan and appear at the
                              confirmation hearing. A copy or summary of the plan will be sent to you later and the confirmation hearing will be held on the date indicated on the front
                              of this notice. The debtor will remain in possession of the debtor's property and may continue to operate the debtor's business, if any, unless the court
                              orders otherwise.

Legal Advice                  The staff of the bankruptcy clerk's office cannot give legal advice. You may want to consult an attorney to determine your rights.

Creditors Generally May Not Prohibited collection actions against the debtor and certain codebtors are listed in Bankruptcy Code § 362 and § 1301. Common examples of prohibited
Take Certain Actions        actions include contacting the debtor by telephone, mail or otherwise to demand repayment; taking actions to collect money or obtain property from the
                            debtor; repossessing the debtor's property; starting or continuing lawsuits or foreclosures; and garnishing or deducting from the debtor's wages. Under
                            certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the court to extend or impose a stay.

Meeting of Creditors          A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses in a joint case) must be present at
                              the meeting to be questioned under oath by the trustee, and by creditors. Creditors are welcome to attend, but are not required to do so. The meeting
                              may be continued and concluded at a later date without further notice.

Claims                        A Proof of Claim is a signed statement describing a creditor's claim. If a Proof of Claim form is not included with this notice, you can obtain one at any
                              bankruptcy clerk's office. A secured creditor retains rights in its collateral regardless of whether that creditor files a Proof of Claim. If you do not file a
                              Proof of Claim by the "Deadline to file a Proof of Claim" listed on the front side, you might not be paid any money on your claim from other assets in the
                              bankruptcy case. To be paid you must file a Proof of Claim even if your claim is listed in the schedules filed by the debtor. Filing a Proof of Claim
                              submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For example, a secured creditor who files a
                              Proof of Claim may surrender important nonmonetary rights, including the right to a jury trial. Filing Deadline for a Creditor with a Foreign Address:
                              The deadlines for filing claims set forth on the front of this notice apply to all creditors. If this notice has been mailed to a creditor at a foreign address,
                              the creditor may file a motion requesting the court to extend the deadline.

Discharge of Debts            The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may never try to collect the debt from the
                              debtor. If you believe that a debt owed to you is not dischargeable under Bankruptcy Code § 523 (a)(2) or (4), you must start a lawsuit by filing a
                              complaint in the bankruptcy clerk's office by the "Deadline to File a Complaint to Determine Dischargeability of Certain Debts" listed on the front side.
                              The bankruptcy clerk's office must receive the complaint and any required filing fee by that deadline.

Exempt Property               The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed to creditors, even if the debtor's
                              case is converted to chapter 7. The debtor must file a list of all property claimed as exempt. You may inspect that list at the bankruptcy clerk's office. If
                              you believe that an exemption claimed by the debtor is not authorized by law, you may file an objection to that exemption. The bankruptcy clerk's office
                              must receive the objection by the "Deadline to Object to Exemptions" listed on the front side.

Bankruptcy Clerk's Office     Any paper that you file in this bankruptcy case should be filed at the bankruptcy clerk's office at the address listed on the front side. You may inspect all
                              papers filed, including the list of the debtor's property and debts and the list of property claimed as exempt, at the bankruptcy clerk's office.

Creditor with a Foreign       Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding your rights in this case.
Address

                                                   −− Refer to Other Side for Important Deadlines and Notices −−
Dismissal Notice              This case may be dismissed without further notice or hearing should the debtor fail to comply with SC LBR 1006−1 (Payment of Filing Fee) or SC LBR
                              1007−2 (Filing of Lists, Schedules or Statements), or SC LBR 2003−1 (Failure of the Debtor(s) or Attorney of the Debtor(s) to Attend the Meeting of
                              Creditors), or SC LBR 3015−1 (Chapter 13 Requirements) or SC LBR 3015−2 (Providing Documents in Chapter 13 Cases). Failure to comply with SC
                              LBR 3015−1 may be addressed at the confirmation hearing in a Chapter 13 case and may result in the dismissal of the case and the imposition of
                              sanctions. If confirmation of a plan is denied, or if payments to the Trustee required by 11 USC 1326(a) are not timely made by the debtor, the case
                              may be dismissed without futher notice or hearing, at the confirmation hearing.


Miscellaneous Notice          The Voice Case Information System (VCIS) will give status information on cases filed or converted after 11/30/88. Call (803)765−5211 or, if long
                              distance, 1−800−669−8767. Please refer to the court's web site at www.scb.uscourts.gov for further information.

Confirmation Hearing          The debtor is required to appear at the Confirmation Hearing. Any objection to confirmation of the proposed plan and related motions must be filed and
                              served in compliance with SC LBR 3015−1 and SC LBR 9014−4. If objections to confirmation are timely filed, they will be heard at the Confirmation
                              Hearing at the time and place set forth above or at a hearing, separate notice of which will be given by the court. Objections to confirmation may be
                              overruled if the objecting creditor fails to appear and prosecute the objection. If no objection is timely filed in accordance with SC LBR 3015−1 and SC
                              LBR 9014−4, the plan may be confirmed and related motions resolved on recommendation of the trustee. Should this happen, the Confirmation
                              Hearing may be canceled.

Secured Claims                Any creditor that takes possession of its collateral, whether by judicial action, voluntary surrender, or through operation of the plan, will be paid nothing
                              unless a proof of claim for any deficiency is filed after disposal of the collateral. This also applies to creditors who may claim an interest in collateral
                              released to another lienholder or collateral on which the stay has been modified by another lienholder.

Abandonment                   All property of the estate which the trustee considers to be burdensome or of inconsequential value and benefit may be abandoned by the trustee at the
                              meeting of creditors unless creditors or parties in interest object.

Plan Summary                  Pursuant to SC LBR 3015−1, the debtor's attorney or a pro se debtor is required to serve, under separate cover, a copy of the plan on all creditors. SC
                              LBR 3015−1 requires that this plan conform to the form plan set forth in Exhibit 1 to SC LBR 3015−1. This form plan requires periodic payment (usually
                              monthly) by the debtor to the trustee. This form plan also provides for payment of any unpaid fees owed to the debtor's attorney at a specified
                              percentage of payments made to creditors. This form plan also provides for periodic payment (usually monthly) on the allowed secured claims of some
                              secured creditors, followed by pro rata payment of the allowed amounts of priority claims, and pro rata payment of allowed unsecured claims until a
                              specified percentage of unsecured claims is paid. The plan may contain other provisions which affect the rights of creditors, therefore, the plan itself
                              should be consulted.
